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        Attorneys for Plaintiffs

   14                      IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF HAWAI‘I
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   16
        LIANE WILSON, and                            Case No. CV 11-00538 DWK BMK
   17
        JOANNA WHEELER ON BEHALF OF
   18   THEMSELVES
   19
                                   Plaintiffs,
   20   v.
                                                     STIPULATION OF DISMISSAL
   21                                                WITH PREJUDICE OF THE
        WYNDHAM WORLDWIDE                            ACTION AS TO ALL PARTIES
   22   CORPORATION, WYNDHAM                         AND CAUSES OF ACTION
   23   VACATION OWNERSHIP, INC.,                    ASSERTED BY PLAINTIFF
                                                     JOANNA WHEELER AND
        WYNDHAM VACATION RESORTS,                    ORDER
   24
        INC.,
   25
        MICHAEL JONAH, MARK
   26   POLLARD, TOM VIRAG, DOE I
        through X, and ROE BUSINESS
   27   ENTITIES I through X, inclusive,
   28
                                   Defendants.

        CASE NO.: CV 11-00538 DWK BMK - STIPULATION OF DISMISSAL WITH PREJUDICE AS TO ALL
        PARTIES AND CAUSES OF ACTION ASSERTED BY PLAINTIFF JOANNA WHEELER AND ORDER
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    4          Plaintiff   Joanna   Wheeler    and    Defendants     Wyndham      Worldwide
    5   Corporation, Wyndham Vacation Ownership, Inc., Wyndham Vacation Resorts,
    6   Inc., Michael Jonah, Mark Pollard, Tom Virag, acting through their respective
    7   counsel of record, hereby stipulate and respectfully request an order dismissing this
    8   action in its entirety as it relates to all parties and causes of action asserted by
    9   Plaintiff Joanna Wheeler, with prejudice. Each party shall bear its own costs and
   10
        fees for the claims and causes of action dismissed by this Stipulation and Order,
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        except as explicitly provided for in the Settlement Agreement entered by the
   12
        parties.
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                                    [signatures on following page]
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        PARTIES AND CAUSES OF ACTION ASSERTED BY PLAINTIFF JOANNA WHEELER AND ORDER
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    5         IT IS SO STIPULATED.                    By: /s/Carl M. Varady, Esq.______
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   11         Richard S. Cohen                        /s/Felicia Medina, Esq.__________
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        Attorney for Defendants Wyndham               Liane Wilson and Joanna Wheeler
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   18   Vacation Ownership, Inc., Wyndham
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        Vacation Resorts, Inc., Michael
        Jonah, and Tom Virag
   20
   21         /s/Wesley M. Fujimoto___
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   25   Attorney for Defendant Mark Pollard
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        PARTIES AND CAUSES OF ACTION ASSERTED BY PLAINTIFF JOANNA WHEELER AND ORDER
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        ORDER
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    7   APPROVED AND SO ORDERED.
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   10   Dated: June 10, 2013.
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                                               /s/ Derrick K. Watson
   14                                          Derrick K. Watson
                                               United States District Judge
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        PARTIES AND CAUSES OF ACTION ASSERTED BY PLAINTIFF JOANNA WHEELER AND ORDER
